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AO 458 (Rev. 06/09) Appearance of Counsel
                             UNITED STATES DISTRICT COURT
                                                       for the
                                            Southern District of New York



 Primitivo Robles                                              )
                             Plaintiff                         )
                                v.                             )    Case No. 1:24-CV-07658-MKV
 Capri Holdings 2 LLC                                          )
                            Defendant
                                                               )

                                            APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record:

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendant Capri Holdings 2 LLC                                                                               .


Date: January 8, 2025                                               /s/Steven J. Stafstrom, Jr.
                                                                                     Attorney’s signature

                                                                    Steven J. Stafstrom, Jr./5969894
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